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                     Exhibit 5
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 1                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS
 2                           BOSTON DIVISION

 3
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 4
     STUDENTS FOR FAIR ADMISSIONS,
 5   INC.,

 6                 Plaintiff,
                                                              Civil Action No.
 7   vs.                                                      1:14-cv-14176

 8   PRESIDENT AND FELLOWS OF HARVARD
     COLLEGE (HARVARD CORPORATION);
 9   and THE HONORABLE AND REVEREND
     THE BOARD OF OVERSEERS,
10
                   Defendants.
11
     -------------------------------x
12
           - HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY -
13

14                       DEPOSITION OF RAKESH KHURANA, a

15           witness called by the Plaintiff, taken

16           pursuant to the applicable provisions of

17           the Federal Rules of Civil Procedure,

18           before James A. Scally, RMR, CRR, a

19           Notary Public in and for the Commonwealth

20           of Massachusetts, at the offices of

21           WilmerHale, 60 State Street, Boston,

22           Massachusetts, on Thursday, April 27,

23           2017, commencing at 9:06 a.m.

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 1   interests, how they want to contribute to each

 2   other's learnings, and their desire to contribute to

 3   society's well-being in consideration of their

 4   applications to Harvard.

 5         Q.   Would you favor increasing the weight given

 6   to legacy admissions if it resulted in decreasing the

 7   racial diversity of the student body on campus?

 8                      MS. ELLSWORTH:            Objection.

 9         A.   I would prefer having as diverse a group of

10   students who come from a variety of different

11   backgrounds and interests and want to study a variety

12   of different subjects, learn from each other, hear

13   each other, understand each other, and who share a

14   desire to contribute to the well-being of society.

15         Q.   So would you favor increasing the weight of

16   legacy if it would decrease racial diversity?

17                      MS. ELLSWORTH:            Objection.

18         A.   I would need to know much more about the

19   variety of different characteristics of those

20   students that you're talking about.

21         Q.   Which students, the legacies or the racial

22   diversity?

23                      MS. ELLSWORTH:            Objection.

24         A.   Both of them.

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 1         Q.   You can't answer that question?

 2         A.   I can't answer that question.

 3         Q.   Have you ever heard anyone at Harvard raise

 4   concern that its admissions process disadvantages

 5   Asian-Americans?

 6         A.   Yes.

 7         Q.   Who has raised that concern with you?

 8                      MS. ELLSWORTH:            Remind the witness

 9              not to disclose the contents of

10              communications with counsel or advice

11              of counsel.        If you can answer the

12              question without doing so, you may.

13         A.   I've heard it discussed as a general topic.

14         Q.   By who?

15         A.   I can't recall specific people.

16         Q.   Have you ever reviewed any analysis by the

17   university's Office of Institutional Research as to

18   the extent to which Asian-Americans are disadvantaged

19   by the admissions process?

20                      MS. ELLSWORTH:            Objection.

21         A.   I may have.

22         Q.   And what are you thinking of when you say you

23   may have?

24         A.   I see a variety and saw a variety of

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 1   different reports when I became dean.

 2                       MS. ELLSWORTH:           If you're going to

 3              move into a document, can we take a

 4              break?     We've been going for a little

 5              over an hour.

 6                       MR. STRAWBRIDGE:             Yeah, we can

 7              take a break.

 8                       (Recess:       4:34 p.m. to 4:41 p.m.)

 9                       (Exhibit 10, February 2013

10              PowerPoint presentation Bates stamped

11              HARV00031773 through 31858, marked.)

12   BY MR. STRAWBRIDGE:

13         Q.   I've handed you a document that's been marked

14   as Exhibit 10.        Can you look through that and see if

15   you recognize that document?                 And I can direct you to

16   a particular part of the pool -- or the document.

17   I'm sorry.      It's starting on the page with the Bates

18   suffix of 804 through 810.                (Pause.)

19              Have you had a chance to look at that?

20   Specifically to 804 to 810, did you have a chance to

21   look at that?

22         A.   I did.

23         Q.   Okay.    Before we broke, I asked you whether

24   you had reviewed any reports from the Office of

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 1   Institutional Research about whether Harvard's

 2   admissions process affects or disadvantages Asians.

 3   Do you recall ever seeing this document?

 4         A.   I may have seen some of these tables, but I

 5   can't say for certain that I saw this document.

 6         Q.   What do you recall about seeing some of these

 7   tables?

 8         A.   That there was an examination of looking at

 9   the admittance of students.

10         Q.   And which tables in particular do you think

11   you've seen before?

12         A.   I can't tell you specifically.

13         Q.   Okay.    And what do you remember about this

14   examination?

15                      MS. ELLSWORTH:            Objection.

16         A.   Just that I didn't think that this was --

17   analysis was done appropriately.

18         Q.   And why didn't you think that?

19         A.   There's limitations, a lot of limitations to

20   doing what are called fitted models like this.

21         Q.   Okay.    Let's back up a little bit.                      When do

22   you specifically remember seeing some of these

23   tables?

24                      MS. ELLSWORTH:            Objection.

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 1         A.   I believe that as I familiarized myself with

 2   the office of the dean of Harvard College, that I

 3   read a variety of different analyses and perused

 4   several reports.

 5         Q.   And so is it your testimony that you think

 6   you saw these documents, you know, they were made

 7   available to you in the office of the dean?

 8         A.   I can't say about these specific documents,

 9   but tables like this.

10         Q.   Do you -- do you specifically remember seeing

11   documents that analyzed what the effect of various

12   admissions variables were on Asian-Americans in the

13   admissions pool?

14         A.   I think so.

15         Q.   And specifically with respect to what appears

16   on page 810, or the page with the Bates suffix of

17   810, there's a question 3 that says, "Is there bias

18   against Asians in college admissions?"

19              Do you see that?

20         A.   Yes.

21         Q.   Okay.    And do you remember reviewing some

22   presentation containing these tables or other similar

23   information that was addressing whether there was

24   bias against Asians in college admissions?

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 1                      MS. ELLSWORTH:            Objection.

 2         A.   I don't remember.

 3         Q.   You don't remember that?

 4         A.   I don't remember that.

 5         Q.   Do you remember in what -- were these on a

 6   share drive, or were they emailed to you?                            Do you

 7   remember how you were reviewing the tables that you

 8   think look like the tables that are in this

 9   presentation?

10                      MS. ELLSWORTH:            Objection.

11         A.   I think there were a variety of reports in my

12   office, and I just remember reading them and going

13   through them.

14         Q.   Like in a hard copy binder?

15         A.   In a hard copy.           I can't say how -- whether

16   they were in a binder.

17         Q.   Okay.    Do you remember discussing those

18   tables or that analysis with anybody else in the

19   office?

20         A.   I don't recall discussing them with anyone

21   else in the office.

22         Q.   Do you know whether you discussed them with

23   the interim dean who preceded you?

24         A.   I don't believe I discussed them.

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 1         Q.   Do you recall whether you ever discussed them

 2   with Dean Hammonds?

 3         A.   I don't believe I discussed this with Dean

 4   Hammonds.

 5         Q.   And you can't remember discussing it with

 6   anybody?

 7         A.   I don't remember discussing these with

 8   anybody.

 9         Q.   When you say there are a lot of problems with

10   a fit model such as these, what specific problems, if

11   any, do you recall thinking about when you looked at

12   tables like the ones in this report?

13         A.   That models like this violate statistical and

14   hypothesis testing.

15         Q.   Did you discuss any of that with people at

16   the Office of Institutional Research?

17         A.   No.

18         Q.   Do you think that the people at the Office of

19   Institutional Research understand statistical

20   modelling?

21                      MS. ELLSWORTH:            Objection.

22         A.   I don't know.

23         Q.   Do you assume that the people who do the

24   institutional research for the college and for the

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 1    university have some background in statistical

 2    modelling?

 3                      MS. ELLSWORTH:            Objection.

 4         A.   I do.

 5         Q.   Do you assume them to be competent at their

 6    jobs?

 7         A.   I do.

 8         Q.   So you read these things, and it occurred to

 9    you that you don't think this was a reliable

10    analysis, or you read something like this, you're not

11    sure if it was this report or something like this,

12    and you didn't talk to or otherwise engage with

13    anybody on it?

14         A.   No.

15         Q.   And the only time you remember seeing

16    something like this was just sitting in your office

17    catching yourself up on the things that the dean has

18    access to?

19                      MS. ELLSWORTH:            Objection.

20         A.   I can't remember if that was the setting.

21         Q.   Okay.     Do you have any idea why these were

22    prepared?

23         A.   I don't.

24         Q.   Did you take any steps to find out why they

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 1    were prepared?

 2         A.   I did not.

 3         Q.   Did you take any steps to determine what a

 4    proper analysis would yield with respect to this

 5    information?

 6         A.   No.

 7         Q.   Did you -- have you since seen any analysis

 8    from the Office of Institutional Research at the

 9    university or the college addressing the question as

10    to whether there's bias in the college admissions

11    process against Asians?

12                      MS. ELLSWORTH:            I'll just remind

13              the witness to answer the question only

14              to the extend you can do so without

15              disclosing communications of counsel or

16              advice of counsel.

17         A.   I'll be following the advice of counsel.

18         Q.   Okay.     So other than in communications with

19    counsel, you haven't seen any other Office of

20    Institutional Research products like this except for

21    this time you were in your office getting up to

22    speed?

23                      MS. ELLSWORTH:            Objection.

24         A.   I don't think I have.

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 1           Q.   And when you say -- I just want to make sure

 2    I understand.       Do you remember -- you remember that

 3    there were problems with this type of analysis when

 4    you picked this thing up and looked at it; correct?

 5           A.   I remember thinking I wouldn't use this kind

 6    of -- I would have not approached this question this

 7    way.

 8           Q.   Okay.   How would you approach the question of

 9    trying to determine whether an admissions process is

10    biased against Asian-Americans?

11                        MS. ELLSWORTH:           Objection.

12           A.   I didn't -- what I was -- that's not the

13    question I would have been asking.                     That's not the

14    question I thought was being asked.

15           Q.   But why -- what question did you think was

16    being asked?

17           A.   How do you -- how does -- you build up a

18    model to understand whether the process we used

19    produces the class that we think we need and would

20    want and would most benefit from a Harvard College

21    education.

22           Q.   Do you think Harvard should take steps to

23    ensure that its admissions process is not

24    disadvantaging Asian-Americans as a group?

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 1                      MS. ELLSWORTH:            Objection.

 2         A.   I think Harvard College should take an

 3    admissions process that considers each student's

 4    background, experiences, academic aspirations,

 5    extracurriculars, contributions to their community,

 6    the benefits they would derive from a four-year

 7    residential experience, and their desire to

 8    contribute to the well-being of society in evaluating

 9    each application.

10         Q.   Do you think that the Harvard admissions

11    process disadvantages Asian-Americans?

12         A.   I don't know.

13         Q.   You don't know?

14         A.   I don't know.

15         Q.   If it did, would it be something that would

16    concern you?

17                      MS. ELLSWORTH:            Objection.

18         A.   I would be concerned if Harvard's admissions

19    process disadvantaged students along a variety of

20    different characteristics.

21         Q.   Including race or ethnicity?

22         A.   Including and not limited to race and

23    ethnicity.

24         Q.   Other than the general conversations you

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 1    mentioned earlier, do you recall anyone else ever

 2    raising with you concerns that Asian-Americans were

 3    disadvantaged by the Harvard admissions process?

 4         A.   I can't recall.

 5         Q.    Do you know whether any student groups at

 6    Harvard have ever raised concerns about whether

 7    Harvard's admissions process disadvantages Asian-

 8    Americans?

 9         A.   I don't know.

10         Q.   You don't know if they have or not?

11         A.    I don't know what you mean by "student

12    groups."

13         Q.    Does Harvard have student affinity groups?

14                      MS. ELLSWORTH:            Objection.

15         A.    Harvard -- yes.

16         Q.   Are some of those student affinity groups

17    associated with nationalities or ethnicities?

18         A.   Some of those student groups have missions

19    that advance the cultural interest of a variety of

20    different identities.

21         Q.   And do you recall any of those student groups

22    raising concerns about whether the admissions process

23    at Harvard disadvantages Asian-Americans?

24                      MS. ELLSWORTH:            Objection.

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 1    COMMONWEALTH OF MASSACHUSETTS                                     SUFFOLK, SS.

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 3                  I, JAMES A. SCALLY, RMR, CRR, a
      Certified Shorthand Reporter and Notary Public duly
 4    commissioned and qualified in and for the
      Commonwealth of Massachusetts, do hereby certify that
 5    there came before me on the 27th day of April, 2017,
      at 9:06 a.m., the person hereinbefore named, RAKESH
 6    KHURANA, who provided satisfactory evidence of
      identification as prescribed by Executive Order 455
 7    (03-13) issued by the Governor of the Commonwealth of
      Massachusetts, was by me duly sworn to testify to the
 8    truth and nothing but the truth of his knowledge
      concerning the matters in controversy in this cause;
 9    that he was thereupon examined upon his oath, and his
      examination reduced to typewriting under my
10    direction; and that this is a true record of the
      testimony given by the witness to the best of my
11    ability.
                    I further certify that I am neither
12    attorney or counsel for, nor related to or employed
      by, any of the parties to the action in which this
13    deposition is taken, and further, that I am not a
      relative or employee of any attorney or counsel
14    employed by the parties hereto or financially
      interested in the action.
15

16
              My Commission Expires:              April 8, 2022
17

18

19
                                _________________________
20                              James A. Scally, RMR, CRR
                                CSR/Notary Public
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